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                                     Raymond Rivera
                                   February 23, 2022

·

·   ·   ·UNITED STATES DISTRICT COURT
·   ·   ·NORTHERN DISTRICT OF MISSISSIPPI
·   ·   ·-----------------------------------------x
·   ·   ·RODNEY JONES, ET AL.,
·
·   · · · · · · · · · · · · · · · ·Plaintiffs,             :
·
·   · · · · · · · · ·- against -
·
·   · ·THE RAYMOND CORPORATION,
·
·   · · · · · · · · · · · · · · · ·Defendant.· ·:
·   · ·-----------------------------------------x

·   · · · · · · · · · · · · · · 2649 South Road
·   · · · · · · · · · · · · ·Poughkeepsie, New York
·
·   · · · · · · · · · · · · · ·February 23, 2022
·   · · · · · · · · · · · · · ·10:08 a.m.

·

·

· · · · ·VIDEOTAPED EXAMINATION BEFORE TRIAL of

· · ·RAYMOND RIVERA, a non-party witness herein,

· · ·taken by the Plaintiff and Defendants,

· · ·pursuant to subpoena and notice held at the

· · ·above-mentioned time and place, before Michelle

· · ·Lemberger, a Notary Public of the State of New

· · ·York.

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·1

·2· ·A P P E A R A N C E S:

·3
· ·   ·MERKEL & COCKE, PA
·4·   ·Attorneys for Plaintiffs
· ·   · · · P.O. Box 1388
·5·   · · · Clarksdale, Mississippi 38614
· ·   ·BY:· YAEGER M. BASS· ESQ.
·6
· ·   · · · ·Ybass@merkel-cocke.com
·7

·8

·9
· ·   ·HUSCH BLACKWELL, LLP
10·   ·Attorneys for Defendants
· ·   · · · 511 North Broadway, Suite 1100
11·   · · · Milwaukee, Wisconsin
· ·   ·BY:· FRANCIS H. LoCOCO, ESQ.
12
· ·   · · · Frank.lococo@huschblackwell.com
13

14· ·A/P· JACOB JORDAN, ESQ

15· · · · Jacob@tannehillcarmean.com

16

17
· · ·ALSO PRESENT:
18
· · · · · · ·Michael Bennett - Videographer
19

20

21· · · · · ·*· · ·*· · ·*· · ·*· · ·*

22

23

24

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·1

·2· · · · · · · S T I P U L A T I O N S

·3

·4· · · · · ·IT IS HEREBY STIPULATED AND AGREED by

·5· ·and between the attorneys for the respective

·6· ·parties herein, that filing, sealing and

·7· ·certification be and the same are hereby

·8· ·waived.

·9· · · · · ·IT IS FURTHER STIPULATED AND AGREED

10· ·that all objections, except as to the form of

11· ·the question shall be reserved to the time of

12· ·the trial.

13· · · · · ·IT IS FURTHER STIPULATED AND AGREED

14· ·that the within deposition may be signed and

15· ·sworn to before any officer authorized to

16· ·administer an oath, with the same force and

17· ·effect as if signed and sworn to before the

18· ·Court and that a copy of this examination

19· ·shall be furnished without charge to the

20· ·attorney representing the witness testifying

21· ·herein.

22

23

24

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·1

·2· · · · · · · · · · I N D E X

·3· ·EXAMINATION BY· · · · · · · · · · · · PAGE

·4· ·Mr. LoCoco· · · · · · · · · · · · · · · 8

·5

·6

·7· · · · · · · · · · ·E X H I B I T S

·8

·9· ·RIVERA· · · ·DESCRIPTION· · · · · · ·PAGE

10· ·1· · · · · · Report· · · · · · · · · · 5

11· ·2· · · · · · Subpoena for Corsi· · · · 5

12· ·3· · · · · · ·Subpoena for Ray Rivera            6

13· ·4· · · · · · Report with invoice
· · · · · · · · · attached· · · · · · · · · 6
14

15

16· · · · · ·(Exhibits retained by counsel)

17

18

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·1

·2· ·BY THE REPORTER:

·3· · · · Q. Please state your name for the

·4· · record.

·5· · · · A. Raymond Rivera.

·6· · · · Q. What is your present business

·7· · address?

·8· · · · A. 827 Route 82, Suite 10-176,

·9· · Hopewell Junction, New York 12533.

10· · · · · · · MR. LoCOCO:· Please mark

11· · · · these before we begin.

12· · · · · · · (Whereupon, at this time,

13· · · · the reporter marked the

14· · · · above-mentioned report as Rivera

15· · · · Exhibit 1 for identification.)

16· · · · · · · (Whereupon, at this time,

17· · · · the reporter marked the

18· · · · above-mentioned subpoena and

19· · · · notice for Corsi Investigations

20· · · · LLC as Rivera Exhibit 2 for

21· · · · identification.)

22· · · · · · · (Whereupon, at this time,

23· · · · the reporter marked the

24· · · · above-mentioned subpoena and

25· · · · notice for Ray Rivera as Rivera


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·1

·2· · · · Exhibit 3 for identification.)

·3· · · · · · · (Whereupon, at this time,

·4· · · · the reporter marked the

·5· · · · above-mentioned report with

·6· · · · attached invoice as Rivera

·7· · · · Exhibit 4 for identification.)

·8· · · · · · · VIDEOGRAPHER:· We are on the

·9· · · · record beginning 10:08 a.m. on

10· · · · February 23rd, 2022.· Audio and

11· · · · video recording will continue to

12· · · · take place until all parties

13· · · · agree to go off the record.

14· · · · · · · This is the video recorded

15· · · · deposition of Corsi

16· · · · Investigations, LLC, by Raymond

17· · · · Rivera and Raymond Rivera

18· · · · individually, taken by counsel

19· · · · for defendant in the matter of

20· · · · Rodney Jones, et al, plaintiff,

21· · · · versus The Raymond Corporation,

22· · · · defendant, filed in the United

23· · · · States District Court for the

24· · · · Northern District of Mississippi,

25· · · · civil action number 320-CV-00308.


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·1

·2· · · · · · · This deposition is being

·3· · · · held at the offices of Rivkin

·4· · · · Radler, LLP, located at 2649

·5· · · · South Road, Suite 100, in

·6· · · · Poughkeepsie, New York.

·7· · · · · · · My name is Michael Bennett.

·8· · · · I am the videographer on behalf

·9· · · · of U.S. Legal Support located at

10· · · · 411 East Wisconsin Avenue, Suite

11· · · · 1625 in Milwaukee, Wisconsin,

12· · · · 53202.

13· · · · · · · The court reporter is

14· · · · Michelle Lemberger, also

15· · · · representing U.S. Legal Support.

16· · · · · · · I am not related to any

17· · · · party in this action nor am I

18· · · · financially interested in the

19· · · · outcome.

20· · · · · · · Would counsel please state

21· · · · their appearances for the record.

22· · · · · · · MR. LoCOCO:· Frank LoCoco on

23· · · · behalf of The Raymond

24· · · · Corporation.

25· · · · · · · MR. JORDAN:· Jacob Jordan on


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·1· · · · · · · · Raymond Rivera

·2· · · · behalf of The Raymond

·3· · · · Corporation.

·4· · · · · · · MR. BASS:· Yeager Bass with

·5· · · · the law firm Merkel & Cocke on

·6· · · · behalf of Rodney Jones and his

·7· · · · wife, plaintiffs.

·8· · · · · · · VIDEOGRAPHER:· Thank you

·9· · · · very much.

10· · · · · · · Would the reporter please

11· · · · swear in the witness.

12· ·R A Y M O N D· ·R I V E R A, having been

13· · · · · first duly sworn by a Notary

14· · · · · Public of the State of New York,

15· · · · · was examined and testified as

16· · · · · follows:

17· ·EXAMINATION BY

18· ·BY MR. LoCOCO:

19· · · · Q. Sir, could you state your full

20· · name, please, and spell your last name

21· · for us?

22· · · · A. Raymond Rivera.· Last name

23· · R-I-V-E-R-A.

24· · · · Q. And what is your date of birth?

25· · · · A. 4/2/70.


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·1· · · · · · · · Raymond Rivera

·2· · · · Q. And do you own a business named

·3· · Corsi Investigations, LLC?

·4· · · · A. Yes.

·5· · · · Q. We subpoenaed you personally and

·6· · your business.· We went on the record

·7· · for the deposition of Corsi

·8· · Investigations, LLC and Raymond Rivera.

·9· · You're all one and the same?

10· · · · A. Yes.

11· · · · Q. All right.· What is the business

12· · address for Corsi Investigations?

13· · · · A. 827 Route 82, Suite 10-176,

14· · Hopewell Junction, New York 12533.

15· · · · Q. And I doubt we're going to have

16· · to do this again, but if we needed to

17· · contact you with a subpoena at your

18· · house, what is your home address?

19· · · · A. 67 Lewis Road, Hopewell

20· · Junction, New York 12533.

21· · · · Q. Any plans to move in the next

22· · six months?

23· · · · A. No.

24· · · · Q. All right.· How long have you

25· · been doing business through Corsi


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·1· · · · · · · · Raymond Rivera

·2· · Investigations, LLC?

·3· · · · A. A little over two years.

·4· · · · Q. Before that, what did you do for

·5· · your professional work?

·6· · · · A. I was a New York City Police

·7· · Department detective.

·8· · · · Q. How long did you work for the

·9· · New York Police Department?

10· · · · A. 22 years.

11· · · · Q. Was there a particular, I don't

12· · know, precinct or group that you worked

13· · with?

14· · · · A. Homicide.

15· · · · Q. How long were you a homicide

16· · detective?

17· · · · A. Last two years of my career.

18· · · · Q. Before that, what was your job

19· · with the NYPD?

20· · · · A. I've worked various functions;

21· · narcotics, vice, mostly undercover and

22· · organized crime.

23· · · · Q. When -- before we started today,

24· · you brought in a thumb drive, which I

25· · very much appreciate, and then a copy


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·1· · · · · · · · Raymond Rivera

·2· · of your report and an invoice regarding

·3· · your work in this matter.

·4· · · · · ·And I noticed that you, under

·5· · activity, say undercover operations

·6· · slash civil matter.

·7· · · · A. Yes.

·8· · · · Q. When you worked for the NYPD, I

·9· · thought I heard you say you had

10· · experience doing undercover work?

11· · · · A. Yes.

12· · · · Q. Okay.· Before you left the NYPD,

13· · were you living up here in Dutchess

14· · County?

15· · · · A. No.

16· · · · Q. Did you have to live in the five

17· · boroughs when you were a City

18· · detective?

19· · · · A. Five boroughs plus the

20· · surrounding counties.

21· · · · Q. So you could have lived in

22· · Westchester, but you couldn't have

23· · lived in Dutchess?

24· · · · A. The NYPD rules is east of the

25· · City is Suffolk and Nassau County,


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·1· · · · · · · · Raymond Rivera

·2· · north is Westchester and Putnam on one

·3· · side of the Hudson, on the other side

·4· · of the Hudson it would be Rockland

·5· · County and Orange County.

·6· · · · Q. All right.· How did you prepare

·7· · for the deposition today?

·8· · · · A. I didn't.

·9· · · · Q. All right.· Did you have any

10· · conversations with Mr. Warshauer in the

11· · last couple of weeks?

12· · · · A. Yes.

13· · · · Q. When did you last speak with

14· · him?

15· · · · A. Probably about a week and a

16· · half, two weeks ago.

17· · · · Q. What did you discuss with him?

18· · · · A. He mentioned that someone was

19· · trying to get in touch with me

20· · regarding a deposition.

21· · · · Q. Anything else?

22· · · · A. No.

23· · · · Q. Did you discuss the work that

24· · you had done for him?

25· · · · A. No.


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·1· · · · · · · · Raymond Rivera

·2· · · · Q. We'll get into some of the

·3· · details here, but your work in

·4· · connection with what you did at The Gap

·5· · in Fishkill, was Mr. Warshauer your

·6· · client?

·7· · · · A. Yes.

·8· · · · Q. Did you have contact with anyone

·9· · other than Mr. Warshauer related to

10· · this incident, from the client's side?

11· · · · A. Might have spoken, maybe, to the

12· · paralegal when I was trying to make

13· · contact in the initial investigation.

14· · · · Q. Do you remember the paralegal's

15· · name?

16· · · · A. No.

17· · · · Q. Does Stan Grantham ring a bell?

18· · · · A. No.

19· · · · Q. How about Jasper Abbot?

20· · · · A. No.

21· · · · Q. But most of your contact was

22· · with Mr. Warshauer?

23· · · · A. Yes.

24· · · · Q. Today, with respect to this

25· · particular case, Jones versus Raymond,


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·1· · · · · · · · Raymond Rivera

·2· · a lawyer from Mississippi named Yeager

·3· · Bass is attending via videoconference.

·4· · · · · ·Did you have any contact with

·5· · him when you did this work at The Gap?

·6· · · · A. No.

·7· · · · Q. Have you had any contact with

·8· · Mr. Bass in connection with, you know,

·9· · since you've learned that we wanted to

10· · take your deposition?

11· · · · A. No.

12· · · · Q. Have you had contact with any

13· · other lawyers since you learned that we

14· · wanted to take your deposition, other

15· · than me and Mr. Warshauer?

16· · · · A. No.

17· · · · Q. Prior to your work as Corsi

18· · Investigations, LLC, did you ever have

19· · a job that involved or included

20· · operating forklift trucks?

21· · · · A. No.

22· · · · Q. When you worked for the NYPD,

23· · did you ever investigate any incidents

24· · where someone was fatally injured or

25· · seriously injured using a forklift


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·1· · · · · · · · Raymond Rivera

·2· · truck?

·3· · · · A. No.

·4· · · · Q. I want to show you actually what

·5· · I've marked before we started today as

·6· · Exhibits 1 and 4.

·7· · · · · ·I'm going to ask you whether

·8· · Exhibit 1 appears to be the report that

·9· · you created with respect to your work,

10· · and is Exhibit 4 the same report but it

11· · also includes your invoice?

12· · · · · · · (Witness peruses document.)

13· · · · A. I apologize.

14· · · · Q. That's okay.

15· · · · A. The pages are difficult to

16· · separate.

17· · · · · ·Other than the color, it's the

18· · same report.

19· · · · Q. And the last page of Exhibit 4

20· · is your invoice?

21· · · · A. Yes.

22· · · · Q. And the invoice is for $3,500?

23· · · · A. Yes.

24· · · · Q. Have you been paid?

25· · · · A. Yes.


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·1· · · · · · · · Raymond Rivera

·2· · · · Q. Was that a flat fee or do you

·3· · have a daily rate?· How did you charge

·4· · for this job?

·5· · · · A. I worked it out to it be a flat

·6· · fee based on the amount of hours I

·7· · anticipated this would take.

·8· · · · Q. If you charged hourly, what is

·9· · your hourly rate?

10· · · · A. 125.

11· · · · Q. Now, we'll get into some of the

12· · details, but the report says that you

13· · were employed by The Gap, it doesn't

14· · say for how long.· How long did you

15· · work for The Gap?

16· · · · A. I don't remember the exact --

17· · definitely three days.· There might

18· · have been another weekend prior to the

19· · exit.· I just didn't want to just quit

20· · abruptly.· So it might have been at the

21· · most two weekends.

22· · · · Q. I'm going to show you -- I'm

23· · going to give you exhibit -- I'm going

24· · to give you Exhibit 2, which is the

25· · subpoena and notice for Corsi


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·1· · · · · · · · Raymond Rivera

·2· · Investigations LLC.

·3· · · · · ·Exhibit 3 is the subpoena and

·4· · notice for Ray Rivera, and I'm going to

·5· · ask you to turn to about four pages

·6· · down to a document called Appendix A.

·7· · · · A. Yes.

·8· · · · Q. Just so everyone knows, I'm not

·9· · sick, I have a frog in my throat, I

10· · apologize.

11· · · · · ·So Appendix A asks you in

12· · compliance with the subpoena to bring

13· · certain documents, records,

14· · photographs, et cetera.· I just want to

15· · walk through these topics, either to

16· · confirm that you've brought them or

17· · they don't exist, or they might be

18· · someplace and we just don't have them

19· · today.· All right?

20· · · · · ·So paragraph 1 asks for all the

21· · photographs that you took at The Gap.

22· · · · · ·We've got photographs that are

23· · reprinted in your report, Exhibit 1,

24· · and, I guess, Exhibit 4, we have

25· · photographs that I've seen on the USB


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·1· · · · · · · · Raymond Rivera

·2· · drive that you provided before we

·3· · started.

·4· · · · · ·Do you have any other

·5· · photographs from when you were at The

·6· · Gap?

·7· · · · A. No.

·8· · · · Q. The report says that the

·9· · photographs you took, maybe this is all

10· · of them -- well, strike that.

11· · · · · ·Are the photographs that are

12· · within your report and on the USB

13· · drive, are they all screen shots from

14· · video?

15· · · · A. They could be screen shots or

16· · they could be photographs.· I utilize

17· · an app to take the pictures.

18· · · · Q. An app on your camera, I mean,

19· · on your phone?

20· · · · A. On the phone, yes.

21· · · · Q. What kind of phone did you use?

22· · · · A. I believe it was an i.Phone.           I

23· · don't remember the model number.

24· · · · Q. Okay.· Did you retain the video

25· · from the -- from whatever video you


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·1· · · · · · · · Raymond Rivera

·2· · took at The Gap?

·3· · · · A. I don't remember if there was

·4· · video taken.· Again, I will place the

·5· · phone in my pocket and I would just let

·6· · it do its job.

·7· · · · Q. Well -- I'm sorry, go ahead,

·8· · finish.

·9· · · · A. Then I would snap and take

10· · pictures.

11· · · · Q. Well, if you look at Exhibit 1,

12· · page 4, the caption for those three

13· · photographs says, Above photos are from

14· · still images of video obtained in the

15· · MDC warehouse of Gap, Inc. Fishkill

16· · distribution campus.

17· · · · · ·So does that refresh your

18· · recollection that you actually took

19· · video?

20· · · · A. I can't say for sure that I do

21· · remember, because, again, this is

22· · almost a year ago.· But it is common

23· · for me to use that app, because I'm

24· · familiar with the way it works.

25· · · · Q. What's the app?


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·1· · · · · · · · Raymond Rivera

·2· · · · A. Timestamp camera.

·3· · · · Q. I'm sorry?

·4· · · · A. Timestamp camera.

·5· · · · Q. Okay.· So I want to go back to

·6· · Appendix A and go back to my question.

·7· · · · · ·To your knowledge, you do not

·8· · have any video from your time at The

·9· · Gap; is that correct?

10· · · · A. Yes.

11· · · · Q. All right.· This is going to

12· · sound like a stupid question, but have

13· · you testified previously?

14· · · · A. Previously to what?

15· · · · Q. Ever, in court, at a deposition,

16· · ever.

17· · · · A. Yes.

18· · · · Q. Yeah, I'm sure many many times

19· · as a detective or an officer?

20· · · · A. Yes.

21· · · · Q. All right.· So just a couple of

22· · ground rules that I'm sure you've

23· · heard.· I want to make sure we're on

24· · the same page.

25· · · · · ·If I ask you something today


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·1· · · · · · · · Raymond Rivera

·2· · that you don't understand, don't answer

·3· · it.· Tell me that you don't understand

·4· · the question and I'll try and ask a

·5· · better or a different question.

·6· · · · · ·Do you understand that?

·7· · · · A. Yes.

·8· · · · Q. Do you understand the oath you

·9· · gave to tell the truth is the same oath

10· · you'd take if you were in a courtroom

11· · in front of a judge and jury?

12· · · · A. Yes.

13· · · · Q. I don't expect us to be very

14· · long, but if you need to take a break

15· · at any time, I don't care if it's ten

16· · seconds from now, you tell us and we'll

17· · go off the record.· All right?

18· · · · A. Yes.

19· · · · Q. Second paragraph asks for video

20· · recordings.· We've already discussed

21· · that.· Appendix A, paragraph 3 asks for

22· · audio recordings.

23· · · · · ·Did you take any audio

24· · recordings of your time at The Gap?

25· · · · A. No.


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·1· · · · · · · · Raymond Rivera

·2· · · · Q. Paragraph 4 asks for all

·3· · statements, whether oral or written

·4· · from anyone at The Gap, regardless of

·5· · whether those statements were provided

·6· · to Mr. Warshauer or his law firm.

·7· · · · · ·Did you take any statements?

·8· · · · A. No.

·9· · · · Q. Paragraph 5 asks for copy of all

10· · forms or documents filled out by Ray

11· · Rivera to obtain employment or access

12· · to the Gap.

13· · · · · ·Do you have the paperwork that

14· · you had to fill out in order to be

15· · employed at The Gap?

16· · · · A. No.

17· · · · Q. Were you ever provided any

18· · paperwork?

19· · · · A. At the time of hiring, yes.

20· · · · Q. Did you retain any of it?

21· · · · A. No.

22· · · · Q. When did you dispose of it?

23· · · · A. From what I remember, it was --

24· · I filled out the paperwork at the

25· · hiring date, and I gave them


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·1· · · · · · · · Raymond Rivera

·2· · everything.

·3· · · · Q. Did you retain any -- were you

·4· · provided copies of anything you filled

·5· · out?

·6· · · · A. It might have been some copies

·7· · of, like, the dos and don'ts, you know,

·8· · EEO stuff, HR stuff, things of that

·9· · nature.

10· · · · Q. But you don't have any of that

11· · material anymore?

12· · · · A. No.

13· · · · Q. I asked a lawyer's question.

14· · · · · ·It's correct to say that you

15· · didn't retain any of those materials,

16· · correct?

17· · · · A. That is correct.

18· · · · Q. Did you fill out a W4 in order

19· · to get paid?

20· · · · A. Yes.

21· · · · Q. All right.· Did you keep a copy

22· · of that?

23· · · · A. No.

24· · · · Q. Did they have you fill out a --

25· · or sign like a lot of companies do this


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·1· · · · · · · · Raymond Rivera

·2· · now, a no harassment policy?

·3· · · · A. I'd like to say yes because

·4· · that's a common form in New York State.

·5· · · · Q. Okay.· Did you have to sign a

·6· · confidentiality agreement?

·7· · · · A. No.

·8· · · · Q. All right.· Any other forms that

·9· · you recall having to sign?

10· · · · A. An I9, I think, is another form

11· · that we're required to sign.

12· · · · Q. Okay.

13· · · · A. But it's a lot of training on

14· · the first day I was there.· Mostly like

15· · HR stuff, sexual harassment.

16· · · · Q. Okay.· Let me go back to Exhibit

17· · A.· Any documents taken from The Gap in

18· · Fishkill, I guess, that's a similar

19· · question.· You don't have anything

20· · else?

21· · · · A. No.

22· · · · Q. Okay.· Then number 8 asks for

23· · all e-mails, written correspondence of

24· · any kind, text messages or voicemails

25· · regarding The Gap, The Gap, Inc., by


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·1· · · · · · · · Raymond Rivera

·2· · and between, you know, any or all of

·3· · the following, Corsi Investigations,

·4· · Warshauer Law Group, some of the people

·5· · that work for him, Ray Rivera and/or

·6· · Michael Warshauer.

·7· · · · · ·So I'm asking about e-mails and

·8· · text messages, basically.

·9· · · · A. No.

10· · · · Q. At the time you were doing this

11· · job, were you e-mailing with

12· · Mr. Warshauer?

13· · · · A. I don't remember, like, exactly

14· · how many e-mails.· I know the initial

15· · e-mail to hire me, it might have been a

16· · phone call he might have made.· I don't

17· · remember exactly how he reached out to

18· · me initially.· But I don't have any

19· · e-mails.

20· · · · Q. Same answer for text messages?

21· · · · A. Same answer.

22· · · · Q. Did you send any text messages

23· · to Mr. Warshauer?

24· · · · A. Yes.· I just don't remember the

25· · context of it.


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·1· · · · · · · · Raymond Rivera

·2· · · · Q. All right.· Who is your carrier?

·3· · Who was your carrier at the time?

·4· · · · A. Verizon.

·5· · · · Q. Okay.· What is your cell phone

·6· · number?

·7· · · · A. (646) 799-2409.

·8· · · · Q. And was it -- did you have that

·9· · number when you were doing this job at

10· · The Gap?

11· · · · A. Yes.

12· · · · Q. All right.· Paragraph 9 is

13· · similar, e-mails, written

14· · correspondence, et cetera.

15· · · · · ·10 is all documents provided to

16· · you by Mr. Warshauer, his law firm.· Do

17· · you have anything like that?

18· · · · A. No.

19· · · · Q. Now, I know on your report, for

20· · example, page 2 of your report, you've

21· · got some photographs where you've

22· · captioned that as client provided

23· · agency the following sample images of

24· · forklifts in regard to this

25· · investigation.


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·1· · · · · · · · Raymond Rivera

·2· · · · · ·How did you get those

·3· · photographs?

·4· · · · A. From Michael Warshauer.

·5· · · · Q. Mail, e-mail?

·6· · · · A. E-mail.

·7· · · · Q. Have you checked your e-mail to

·8· · see whether you still have any e-mail

·9· · from your time working with Mr.

10· · Warshauer?

11· · · · A. Yes.

12· · · · Q. Okay.· And all of that has been

13· · disposed of?

14· · · · A. Yes.

15· · · · Q. When did you dispose of all

16· · those e-mails?

17· · · · A. I had a mail service provider

18· · that's different than the one I have

19· · today.· I switched, so all those

20· · e-mails are gone.

21· · · · Q. When did you switch?

22· · · · A. Probably around the summer of

23· · last year.

24· · · · Q. What was your e-mail address

25· · previously?


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·1· · · · · · · · Raymond Rivera

·2· · · · A. It was the same.· It was just

·3· · through a different mail service

·4· · provider.

·5· · · · Q. Who was that?

·6· · · · A. Private mail dot com.

·7· · · · Q. Paragraph 11 asks for all

·8· · reports, final or draft.

·9· · · · · ·Do you have any draft reports or

10· · what you've provided is what you have?

11· · · · A. What I provided is what I have.

12· · · · Q. And then paragraph 12 asks for

13· · billings, invoice, timesheets.· Other

14· · than the invoice you've provided, any

15· · other timesheets or billing records?

16· · · · A. No.

17· · · · Q. All right.· I want to move to

18· · your report, Exhibit 1 or Exhibit 4,

19· · whichever you're more comfortable

20· · looking at and ask you some specific

21· · questions about this project.

22· · · · · ·First of all, do you know how

23· · Mr. Warshauer got your name or was made

24· · aware of your company?

25· · · · A. No.


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·1· · · · · · · · Raymond Rivera

·2· · · · Q. And you said earlier that first

·3· · contact might have been a phone call,

·4· · might have been an e-mail.· Do you

·5· · remember which?

·6· · · · A. No.

·7· · · · Q. So on page 1, this is your

·8· · report, it's dated March 20, 2021,

·9· · correct?

10· · · · A. Yes.

11· · · · Q. And the case number 21-0307, is

12· · that your company's case number?

13· · · · A. Yes.

14· · · · Q. It says date assigned was

15· · February 24, 2021.· Is that when you

16· · had your first contact with Mr.

17· · Warshauer?

18· · · · A. Yes.

19· · · · Q. The paragraph that starts with

20· · our objective, do you see that?

21· · · · A. Yes.

22· · · · Q. It says, quote, Our objective is

23· · to obtain videos and/or photos of

24· · standup forklifts with doors at the

25· · warehouse of Gap, Inc. Fishkill


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·1· · · · · · · · Raymond Rivera

·2· · distribution campus located at 100-110

·3· · Meritt, M-E-R-R-I-T-T, Boulevard,

·4· · Fishkill, New York 12524.· Client also

·5· · requested that the agency try to obtain

·6· · videos of the forklifts being used.

·7· · Try to locate an individual who is

·8· · slash has used such forklifts and try

·9· · to obtain how many forklifts,

10· · parentheses, with doors, close

11· · parentheses, are in the facility, close

12· · quote.

13· · · · · ·Did I read that correctly?

14· · · · A. Yes.

15· · · · Q. All right.· So that was the job

16· · that Mr. Warshauer gave you?

17· · · · A. Yes.

18· · · · Q. Did he talk to you about how to

19· · accomplish that job?

20· · · · A. No.

21· · · · Q. Did you -- well, let's go to the

22· · next page.· Actually, page 3.· This is

23· · your investigation summary continued,

24· · correct?

25· · · · A. Yes.


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·1· · · · · · · · Raymond Rivera

·2· · · · Q. All right.· So it says, during

·3· · the investigation agency responded to a

·4· · job posting in which Gap, Inc. was

·5· · hiring a loss prevention specialist,

·6· · period.· Agency applied for the

·7· · position and was hired as an employee

·8· · of Gap.· Agency was then able to enter

·9· · the facility and gain access to the

10· · warehouse, whereas it would not have

11· · been possible since the warehouse is

12· · not open to the public.

13· · · · · ·Did I read that correctly?

14· · · · A. Yes.

15· · · · Q. So was this your idea to apply

16· · for a job or was that Mr. Warshauer's?

17· · · · A. That was my idea.

18· · · · Q. Did he know you were going to do

19· · that?

20· · · · A. Yes.

21· · · · Q. And he didn't have any problem

22· · with that?

23· · · · A. Actually, from what I remember,

24· · he didn't think I would be hired

25· · because I would be considered


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·1· · · · · · · · Raymond Rivera

·2· · overqualified.

·3· · · · Q. Okay.· Do you have -- where did

·4· · you see the posting?

·5· · · · A. It was either Indeed or one of

·6· · those websites that post jobs.· And I

·7· · came across it by accident.

·8· · · · Q. Okay.· Let me go back.

·9· · · · · ·Did you try to get into The Gap

10· · first without going through the process

11· · of applying for a job?

12· · · · A. Yes.

13· · · · Q. How did you do that?

14· · · · A. I did recognizance of the

15· · location.

16· · · · Q. Tell me what that involves.· I'm

17· · not an investigator, I was never a

18· · police officer or investigator.· So

19· · tell me what you mean by recognizance?

20· · · · A. At the time, when Mr. Warshauer

21· · was asking me to see if I can try to

22· · obtain photographs or videos of these

23· · forklifts, I went to the location and I

24· · visited it, and I determined that it is

25· · impossible to get in there because it's


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·1· · · · · · · · Raymond Rivera

·2· · not open to the public.· It's a

·3· · warehouse where there is no public

·4· · access to it.· You have to be either

·5· · employed by them or you have to have, a

·6· · contract with them when you're making

·7· · deliveries.

·8· · · · Q. So did you -- after you did this

·9· · recognizance, did you inform Mr.

10· · Warshauer of that fact?

11· · · · A. I don't remember if I informed

12· · him immediately as to that fact.· But I

13· · do remember that when I went back to

14· · the office, to my home office, and I

15· · started doing some more research,

16· · trying to locate maybe someone that

17· · works there that's willing to talk to

18· · me and give me some information, I

19· · remember at that time I came across a

20· · posting where someone was -- they

21· · posted a job.

22· · · · Q. I see.· So then you called Mr.

23· · Warshauer and said, hey, there's no way

24· · to get in there, but I came across this

25· · job posting, I'm going to apply for a


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·1· · · · · · · · Raymond Rivera

·2· · job?

·3· · · · A. Yes.

·4· · · · Q. Okay.· Now, if you were retained

·5· · on or about February 24th, about when

·6· · did you apply for the job?

·7· · · · A. I don't remember exactly when,

·8· · but it was after my conversation with

·9· · Mr. Warshauer.

10· · · · Q. The job of loss prevention

11· · specialist, Mr. Warshauer told you he

12· · thought you were overqualified.· What's

13· · your recollection of the qualifications

14· · that The Gap asked for?

15· · · · A. I don't remember.· I actually

16· · had no knowledge of what a loss

17· · prevention officer would do.

18· · · · Q. All right.· Did you use your

19· · regular name with The Gap?

20· · · · A. Yes.

21· · · · Q. Did you use your regular

22· · background that you, you know, that you

23· · were an NYPD detective?

24· · · · A. Yes.

25· · · · Q. So did you ever tell anyone at


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·1· · · · · · · · Raymond Rivera

·2· · The Gap the real reason you were

·3· · applying for the job?

·4· · · · A. No.

·5· · · · Q. So do you have a recollection of

·6· · -- well, what was the process then of

·7· · actually getting hired?· Did you fill

·8· · out an online application?

·9· · · · A. I believe there was an online

10· · application I submitted.

11· · · · Q. And then what was the next step?

12· · · · A. They either e-mailed me back --

13· · it could have been a phone call.           I

14· · remember speaking to, I believe, it was

15· · a hiring manager at the time.

16· · · · Q. What is the name of the hiring

17· · manager?

18· · · · A. I don't remember his name.

19· · · · Q. And you talked to someone by

20· · phone?

21· · · · A. Yes.

22· · · · Q. Did you have any interview then?

23· · · · A. No.· The interview was in

24· · person.

25· · · · Q. All right.· So you got a call


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·2· · back in response to your application,

·3· · and then you would have been called in

·4· · for an interview?

·5· · · · A. Yes.

·6· · · · Q. All right.· How long did the

·7· · interview take?

·8· · · · A. Maybe 15 minutes, half hour.           I

·9· · can't say for sure.

10· · · · Q. And do you recall who

11· · interviewed you?

12· · · · A. I don't remember their names,

13· · but one was the manager and the other,

14· · I believe, his title was the director.

15· · · · Q. In your report, you do identify

16· · somebody from The Gap named Frank

17· · LaGrippo, L-A-G-R-I-P-P-O.· Are you

18· · saying here that he was a loss

19· · prevention specialist there?

20· · · · A. Yes.

21· · · · Q. All right.· Have you had any

22· · contact with him since you quit your

23· · job there?

24· · · · A. No.

25· · · · Q. What was the -- were you getting


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·2· · paid hourly or salary for the job?

·3· · · · A. Hourly.

·4· · · · Q. What was the hourly pay?

·5· · · · A. I believe 17.95 an hour.

·6· · · · Q. Did you actually get paid?

·7· · · · A. Yes.

·8· · · · Q. What did you do with the check?

·9· · · · A. Deposit it.

10· · · · Q. So what was your job as the loss

11· · -- now that you're hired, what were you

12· · hired to do?· Tell me what the job was?

13· · · · A. Conduct safety checks, check the

14· · employees coming in, their ID, make

15· · sure they're actually supposed to be

16· · working there.

17· · · · · · · MR. LoCOCO:· Let's go off

18· · · · the record.

19· · · · · · · VIDEOGRAPHER:· We are off

20· · · · the record, the time is 10:39

21· · · · a.m.

22· · · · · · · (Whereupon, a brief recess

23· · · · was taken.)

24· · · · · · · VIDEOGRAPHER:· We are back

25· · · · on the record, 10:42 a.m.


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·1· · · · · · · · Raymond Rivera

·2· ·BY MR. LoCOCO:

·3· · · · Q. So Mr. Rivera, I want to go back

·4· · to your job at The Gap.

·5· · · · · ·You said you'd do safety checks.

·6· · What do you mean by safety checks?

·7· · · · A. Part of my assignment was to

·8· · walk around the warehouse, look for

·9· · anything that might be problematic,

10· · where someone might trip over, you

11· · know, like a water spill or maybe boxes

12· · on the floor.· Make sure everything was

13· · clear so that the employees don't trip

14· · over anything.

15· · · · Q. Were you responsible at all for

16· · supervising forklift operators to make

17· · sure they were operating properly?

18· · · · A. No.

19· · · · Q. You said you checked ID?

20· · · · A. Yes.

21· · · · Q. Tell me about that?

22· · · · A. When people walk in, they're

23· · given an ID, and they have to scan

24· · themselves in.· If there's an issue

25· · where it doesn't work, we have to look


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·2· · them up in the system, make sure that

·3· · they're actually allowed into the

·4· · building.

·5· · · · Q. Did you get an ID?

·6· · · · A. Yes.

·7· · · · Q. Do you still have the ID?

·8· · · · A. No.

·9· · · · Q. You had to turn it in?

10· · · · A. I don't remember if I had to

11· · turn it in or just shred it.· I can't

12· · remember, but I no longer have it.

13· · · · Q. Were employees permitted to have

14· · phones with them?

15· · · · A. Yes.

16· · · · Q. Were employees permitted to take

17· · photographs of racking and products and

18· · forklifts or whatever else they saw?

19· · · · A. To my knowledge, there was no

20· · prohibition for that.

21· · · · Q. Who was your supervisor when you

22· · were working?

23· · · · A. I don't remember the name.

24· · · · Q. Whoever your supervisor was, you

25· · never told him you were there doing a


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·2· · job for Mr. Warshauer; is that correct?

·3· · · · A. That is correct.

·4· · · · Q. Did you ever tell him that you

·5· · were taking pictures?

·6· · · · A. No.

·7· · · · Q. Did you ever ask for permission

·8· · to take pictures?

·9· · · · A. No.

10· · · · Q. Why not?

11· · · · A. It's an undercover operation.

12· · Part of my job is to be in there and

13· · not to let others know what the real

14· · purpose is.

15· · · · Q. So you never had any intention

16· · of telling anyone who you really were

17· · and what you were really trying to do?

18· · · · A. Yes.

19· · · · Q. That's correct?

20· · · · A. That's correct.

21· · · · Q. Frank LaGrippo, this is page 3

22· · of your report, how did you get his

23· · phone number?

24· · · · A. He provided it to me.

25· · · · Q. Did you tell him why you wanted


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·1· · · · · · · · Raymond Rivera

·2· · his phone number?

·3· · · · A. No.· While working in the

·4· · warehouse, it's very large, and at one

·5· · point, in order to communicate, the

·6· · radios that they gave us, point to

·7· · point radios, don't always work.· So

·8· · using a cell phone, either texting each

·9· · other or calling, it's just a lot

10· · easier to communicate with each other.

11· · · · Q. So that paragraph starts with

12· · you writing, quote, The client

13· · requested that agency obtain the name

14· · and contact information of an employee

15· · that operates or has operated said

16· · forklifts, close quote.

17· · · · · ·Is this something you were asked

18· · for right at the beginning or once you

19· · got the job and were there in some

20· · subsequent conversation with Mr.

21· · Warshauer?

22· · · · A. I don't remember --

23· · · · Q. Okay.

24· · · · A. -- exactly when, but it was an

25· · objective.


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·1· · · · · · · · Raymond Rivera

·2· · · · Q. Did you have conversations with

·3· · Mr. Warshauer while you were working at

·4· · The Gap, you know, interim reports at

·5· · least over the phone or via e-mail?

·6· · · · A. Yes.

·7· · · · Q. Was it both or one or the other?

·8· · · · A. I would say both.

·9· · · · Q. The photos that are in your

10· · report, is that -- and the ones that

11· · you provided today, is that all the

12· · photos that you took or just the ones

13· · you've saved?

14· · · · A. Those are the ones I took.

15· · · · Q. If we look at page 4, there's

16· · three photographs there, correct?

17· · · · A. Yes.

18· · · · Q. Are you able to tell me the

19· · designation for that type of forklift

20· · there?

21· · · · A. I don't understand the question.

22· · · · Q. Well, do you know what a manual

23· · pallet jack is?

24· · · · A. No.

25· · · · Q. Do you know what a pallet jack


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·1· · · · · · · · Raymond Rivera

·2· · is?

·3· · · · A. No.

·4· · · · Q. Have you ever heard of the term

·5· · reach truck?

·6· · · · A. No.

·7· · · · Q. Have you ever heard of the term

·8· · counterbalance truck?

·9· · · · A. No.

10· · · · Q. All right.· So looking at these

11· · photographs, you don't know what kind

12· · of forklift that is, other than the

13· · manufacturer?

14· · · · A. No.

15· · · · Q. What I said was correct, you

16· · don't know?

17· · · · A. I don't know.

18· · · · Q. The trucks that you

19· · photographed, at least the ones that I

20· · -- the pictures that I've seen, they're

21· · all Raymond.· Did they have any other

22· · manufacturer's forklift in this

23· · facility?

24· · · · A. I don't remember.

25· · · · Q. If you look at page 6 -- I'm


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·1· · · · · · · · Raymond Rivera

·2· · sorry, page 5, there's a photograph

·3· · number 3, do you know what style of

·4· · forklift that is?

·5· · · · A. No.

·6· · · · Q. All right.· The next page, page

·7· · 6, you've got a note on the first

·8· · photograph which is, I guess, photo 7,

·9· · it says, This type of forklift is

10· · unmanned, note that there are no vents.

11· · · · · ·Why is it your -- why did you

12· · conclude that this is an unmanned

13· · forklift?

14· · · · A. That didn't have an area for

15· · someone to step inside or to operate.

16· · As you can see with, I guess, with

17· · photograph number 12, where you can

18· · physically step into the forklift and

19· · operate it.· The other one, I don't

20· · even know how that would be operated, I

21· · would assume through maybe use of some

22· · type of machine or -- I don't know.

23· · · · Q. All right.· So I'm going to -- I

24· · want you to assume for a minute that

25· · that type of forklift is called an


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·1· · · · · · · · Raymond Rivera

·2· · order picker?

·3· · · · A. Order picker?

·4· · · · Q. Order picker, O-R-D-E-R, picker.

·5· · · · A. Okay.

·6· · · · Q. And the operator actually stands

·7· · on the opposite side of where you've

·8· · got the arrow and goes up and down with

·9· · the load.

10· · · · · ·Did you see anybody operating a

11· · truck like this going up and down with

12· · the load?

13· · · · A. No.

14· · · · Q. Okay.· What shift did you work?

15· · · · A. It was a weekend shift.

16· · Saturday and Sunday only.· 6 a.m. to

17· · 1400 hours.· 2 p.m.

18· · · · Q. And was that a less populated

19· · shift, fewer people working or do you

20· · know?

21· · · · A. No, I don't know.

22· · · · Q. Was this a 24/7 operation?

23· · · · A. No.· I don't know that,

24· · actually.

25· · · · Q. So whatever shifts you worked,


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·1· · · · · · · · Raymond Rivera

·2· · they were 6 a.m. to 2 p.m.?

·3· · · · A. Yes.

·4· · · · Q. Did you ever get into one of --

·5· · let's go back to page 4.

·6· · · · · ·Did you ever get into one of

·7· · those forklifts?

·8· · · · A. No.

·9· · · · Q. Did you ever operate the door,

10· · open or close the door --

11· · · · A. No.

12· · · · Q. -- on the forklift?

13· · · · A. No.

14· · · · Q. Did you do anything to determine

15· · the material that the door was made out

16· · of?

17· · · · A. What do you mean by that?

18· · · · Q. You know, was it carbon, steel,

19· · aluminum?

20· · · · A. I didn't touch it so I can't say

21· · for sure.

22· · · · Q. Okay, that's fair.

23· · · · · ·Did any of these doors -- do you

24· · know what was keeping -- well, strike

25· · that.


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·1· · · · · · · · Raymond Rivera

·2· · · · · ·Do you know what was keeping the

·3· · doors closed?

·4· · · · A. No.

·5· · · · Q. Did you do any investigation of

·6· · their accident history at this

·7· · facility?

·8· · · · A. No.

·9· · · · Q. Pardon me?

10· · · · A. No.

11· · · · Q. I was going to -- I'm going to

12· · ask the full question.

13· · · · A. Okay.

14· · · · Q. I think the answer is still

15· · going to be no, but did you do any

16· · investigation of The Gap's accident

17· · history at this facility related to

18· · using these types of forklifts?

19· · · · A. No.

20· · · · Q. Did you see any forklift

21· · accidents while you worked there?

22· · · · A. No.

23· · · · Q. Again, back in page 3 with this

24· · reference to Mr. LaGrippo, after you

25· · stopped working there, have you had any


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·1· · · · · · · · Raymond Rivera

·2· · contact with him?

·3· · · · A. No.

·4· · · · Q. Okay.· Page 4, the photographs,

·5· · in fact, most of them were taken at

·6· · sort of an angle.· Can you explain why

·7· · that is?

·8· · · · A. The cell phone that I use --

·9· · · · Q. Yes, sir.

10· · · · A. -- sits in my pocket, the front

11· · pocket.· The shirt that I was wearing

12· · that day had a pocket on the outside.

13· · So if I'm standing, walking, it's very

14· · possible it can just tilt to the side.

15· · · · Q. Okay.· So it's the result of not

16· · wanting other people to know that

17· · you're taking pictures?

18· · · · A. Correct.

19· · · · Q. So you said, other than -- well,

20· · I'm not sure you said this.· So your

21· · recollection is you worked about three

22· · days?

23· · · · A. At least three days.

24· · · · Q. Okay.· Does that include your

25· · training or that's in addition to the


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·1· · · · · · · · Raymond Rivera

·2· · training?

·3· · · · A. That includes the training.

·4· · · · Q. All right.· Why did you decide

·5· · to quit when you decided to quit?

·6· · · · A. The operation was concluded, no

·7· · reason to stay.

·8· · · · Q. You got what you needed?

·9· · · · A. Correct.

10· · · · Q. Who did you tell you were

11· · quitting?

12· · · · A. The hiring manager who

13· · originally hired me.

14· · · · Q. Did you give him an excuse?

15· · · · A. I don't remember exactly what I

16· · said.· Something in sum and substance I

17· · found another job, which is typical of

18· · what I would say when I work these type

19· · of cases.

20· · · · Q. But you hadn't actually found

21· · another job?

22· · · · A. No.

23· · · · Q. All right.· And you didn't tell

24· · him I got the photographs I needed?

25· · · · A. That is correct.


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·1· · · · · · · · Raymond Rivera

·2· · · · Q. Did you speak with any of the

·3· · forklift operators regarding their

·4· · experiences in operating the trucks

·5· · that had the doors?

·6· · · · A. No.

·7· · · · Q. Do you know why at this facility

·8· · The Gap ordered these forklifts with

·9· · the door on the back?

10· · · · A. No.

11· · · · Q. Other than the forklift

12· · pictures, did you take pictures of any

13· · other parts of the warehouse?

14· · · · A. No.

15· · · · Q. Did the warehouse, both NDC and

16· · ODC, did they both have docks, dock

17· · doors?

18· · · · A. Yes.

19· · · · Q. Did you get any photographs of

20· · the docks?

21· · · · A. No.

22· · · · Q. On page 9, this is -- this

23· · overhead view is from Google maps?

24· · · · A. Yes.

25· · · · Q. The NDC and ODC you added?


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·1· · · · · · · · Raymond Rivera

·2· · · · A. Yes.

·3· · · · Q. Do you know how many square feet

·4· · the two warehouses were all together?

·5· · · · A. No.

·6· · · · Q. On page 10, after -- you see

·7· · where it says end of investigative

·8· · report?

·9· · · · A. Yes.

10· · · · Q. After that next section, is

11· · that -- and I don't mean to be

12· · pejorative, is that boilerplate,

13· · something that goes at the end of each

14· · of your reports?

15· · · · A. Yes.

16· · · · Q. Are you a licensed private

17· · investigator?

18· · · · A. Yes.· Both in New York and New

19· · Jersey.

20· · · · Q. When did you get licensed in

21· · New York?

22· · · · A. November 2019.

23· · · · Q. And how about New Jersey?

24· · · · A. February of last year.

25· · · · Q. 2021?


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·1· · · · · · · · Raymond Rivera

·2· · · · A. Yes.

·3· · · · Q. If you wanted to do

·4· · investigations in Connecticut, would

·5· · you have to get licensed?

·6· · · · A. Either get licensed or find

·7· · another private investigator in

·8· · Connecticut where I could work under

·9· · their license.

10· · · · Q. Are you done testifying for the

11· · NYPD?· What I mean by that is, any old

12· · cases that you might get called back to

13· · testify about?

14· · · · A. Yes.

15· · · · Q. So when you retired, you knew

16· · that that is something that could

17· · happen, you'd be called back to testify

18· · on cases that you investigated?

19· · · · A. Actually, I'm scheduled to

20· · testify in future cases.

21· · · · Q. Okay.· When you were talking to

22· · Mr. Warshauer during this process,

23· · applying for the job, working at The

24· · Gap, did he ever say, you know, at

25· · least when you leave, Ray or


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·1· · · · · · · · Raymond Rivera

·2· · Mr. Rivera, you got to let him know

·3· · what you were actually doing there?

·4· · · · A. No.

·5· · · · Q. So did every shift start with

·6· · you checking IDs?

·7· · · · A. It's one of several

·8· · responsibilities and duties.

·9· · · · Q. How many loss prevention

10· · specialists worked, you know, per

11· · shift?

12· · · · A. There's two warehouses.· It's a

13· · minimum manpower of, I believe, two on

14· · each warehouse.· When I was working

15· · there, there was as many as five, maybe

16· · six at one time.

17· · · · Q. Okay.· Have you had, other than

18· · the run up to this deposition, have you

19· · had any other contact with Mr.

20· · Warshauer since you sent your report?

21· · · · A. Repeat the question?

22· · · · Q. Sure.· Not counting a couple of

23· · weeks ago when we were working on

24· · getting this deposition scheduled, once

25· · you sent your report last March, since


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·1· · · · · · · · Raymond Rivera

·2· · then, have you had any other contact

·3· · with Mr. Warshauer?

·4· · · · A. No.

·5· · · · Q. No other projects?

·6· · · · A. No.

·7· · · · Q. Okay.· Do you advertise other

·8· · than on the internet?

·9· · · · A. Yes.

10· · · · Q. How do you advertise?

11· · · · A. I utilize a service called Bark

12· · dot com, B-A-R-K-E -- I'm sorry,

13· · B-A-R-K dot com.

14· · · · Q. And were you utilizing that at

15· · the time Mr. Warshauer retained you?

16· · · · A. Yes.

17· · · · Q. The USB drive that you gave me,

18· · there's a folder that says, Saturday

19· · picks, forklift, and then Sunday picks,

20· · forklift.· Were those taken on

21· · consecutive days, Saturday and a Sunday

22· · or was there a week in between or do

23· · you remember?

24· · · · A. I separated folders so that I

25· · knew which -- to make it easier for me


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·1· · · · · · · · Raymond Rivera

·2· · to separate which ones were Saturday

·3· · picks, which ones were Sunday picks.

·4· · · · Q. I asked a bad question, but were

·5· · the Saturday and Sunday from the same

·6· · weekend?

·7· · · · A. Yes.

·8· · · · Q. Okay.· So you said that you

·9· · worked at least three days.· Does that

10· · mean you would have worked -- were you

11· · just working weekends at the time?

12· · · · A. Yes.

13· · · · Q. So you would have worked the

14· · next weekend as well?

15· · · · A. Yes.

16· · · · Q. And then did you quit after

17· · that?

18· · · · A. Yes.

19· · · · Q. Other than your Social Security

20· · number, did you provide any other

21· · private information to the Gap?

22· · · · A. Can you elaborate?

23· · · · Q. I don't know, I can't think of

24· · anything.· I'm just asking you anything

25· · that you considered private.


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·1· · · · · · · · Raymond Rivera

·2· · · · A. Date of birth, Social Security

·3· · number, home address, phone number.

·4· · · · Q. Everything we've talked about

·5· · here.· So anything beyond that?

·6· · · · A. Pretty much, that's what I gave

·7· · them.

·8· · · · Q. All right.· I just want to

·9· · confirm again, you did not retain any

10· · of the documents that you've signed

11· · when you started working at The Gap?

12· · · · A. Yes.

13· · · · Q. Tell me what your -- how long

14· · did your training take?

15· · · · A. I would say for the duration I

16· · was there.· Every day they would show

17· · me something different, what I need to

18· · do, how the computer worked, how to

19· · check the cameras.· I mean, actual

20· · training, sit down, one day.· That's

21· · for like the HR stuff, you know, safety

22· · guidelines, you know, what not to do.

23· · · · Q. Let me ask it a little

24· · differently.

25· · · · · ·Was the training that you did


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·1· · · · · · · · Raymond Rivera

·2· · interspersed with your actual work or,

·3· · you know, first day you go in, you

·4· · spent eight hours training?· How was it

·5· · done there?

·6· · · · A. Beyond the eight hours or during

·7· · the eight hours?

·8· · · · Q. Did you have a full eight hours

·9· · of training?

10· · · · A. Yes.

11· · · · Q. The first day?

12· · · · A. Yes.

13· · · · Q. Was that on a Saturday or a

14· · Sunday or was that during the week?

15· · · · A. I don't remember.· I don't think

16· · it was a weekend.· It was probably

17· · during the week.

18· · · · Q. All right.· You mentioned how to

19· · -- something about cameras.· What part

20· · of your job involved cameras?

21· · · · A. The warehouse has cameras all

22· · over the location.· Also there is

23· · exterior cameras as well.· So part of

24· · my function was to navigate the cameras

25· · and check them periodically for any


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·1· · · · · · · · Raymond Rivera

·2· · safety violations, anything they should

·3· · be concerned with.

·4· · · · Q. Meaning, you'd look at the video

·5· · from the cameras to see if somebody had

·6· · done something wrong?

·7· · · · A. Not just that.· If -- I remember

·8· · one incident, one of the loss

·9· · prevention officers received a case

10· · where someone was suspected of

11· · stealing.· So they would go back and

12· · look at the cameras for the days the

13· · person was working to see how they

14· · removed the merchandise from the

15· · warehouse.

16· · · · Q. Do you know how long The Gap

17· · keeps the video they take from the

18· · surveillance cameras?

19· · · · A. No.

20· · · · Q. Okay.· And just to make sure I'm

21· · clear, a lot of places that I'm

22· · familiar with, they might keep it for

23· · two days, three days, and then it

24· · starts getting written over.

25· · · · · ·Do you know what their schedule


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·1· · · · · · · · Raymond Rivera

·2· · was at The Gap?

·3· · · · A. No.

·4· · · · Q. Okay.· Did Mr. Warshauer ever

·5· · tell you why he wanted these

·6· · photographs?

·7· · · · A. There was a civil matter is what

·8· · he explained to me.

·9· · · · Q. No other detail?

10· · · · A. There was a lawsuit.· There were

11· · injuries that were claimed.

12· · · · Q. Anything else you remember?

13· · · · A. No.

14· · · · Q. Does the -- when you become a

15· · licensed private investigator here in

16· · the State of New York, what do you have

17· · to do?

18· · · · A. There's an application you got

19· · to fill out.· You got to get

20· · fingerprinted.· You have to meet the

21· · minimum requirements to become a

22· · licensed private investigator and

23· · there's also an exam.

24· · · · Q. What are the requirements?

25· · · · A. I believe, if memory holds me


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·1· · · · · · · · Raymond Rivera

·2· · correct, there's a minimum of either

·3· · three or five years as an investigator

·4· · or I forget how many minimum years as a

·5· · law enforcement officer.· I met the

·6· · latter, so I qualified.

·7· · · · Q. Sure.· And then is there -- how

·8· · to do this, how to ask about this, let

·9· · me see.

10· · · · · ·So when I get licensed as a

11· · lawyer in the State of Wisconsin, which

12· · is where I'm from, there's a

13· · professional code I have to abide by.

14· · Do private investigators have a code of

15· · some kind --

16· · · · A. Yes.

17· · · · Q. -- that they have to abide by?

18· · · · A. Yes.

19· · · · Q. What is that called?

20· · · · A. Everything must be followed by

21· · the general business law, it's

22· · available on the New York State

23· · website.

24· · · · Q. General business law?

25· · · · A. Yes.


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                                                                                YVer1f
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·1· · · · · · · · Raymond Rivera

·2· · · · Q. Is there anything specific to

·3· · private investigators?

·4· · · · A. Yes.

·5· · · · Q. Do you know the name of that?

·6· · · · A. No.

·7· · · · Q. Same question about New Jersey.

·8· · Do you know if they have a code for

·9· · private investigators?

10· · · · A. Yes, but theirs is a little

11· · different.

12· · · · Q. How?

13· · · · A. You have to be a former law

14· · enforcement officer.· There is no other

15· · way of getting a license there.

16· · · · Q. Okay.· Did you have to sit for

17· · an exam in New Jersey?

18· · · · A. No, no exam in Jersey.

19· · · · Q. You just -- because you were

20· · already admitted in New York?

21· · · · A. No.

22· · · · Q. Just they don't have an exam?

23· · · · A. No exam.· You just have to have

24· · a minimum.· I believe it's five or

25· · seven years, I don't know exactly.· You


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·2· · had to fill out an application, they

·3· · authenticate you, you had to provide

·4· · them evidence of your prior law

·5· · enforcement experience.· You get

·6· · fingerprinted.

·7· · · · Q. If you -- strike that.

·8· · · · · ·What do you have to do to keep

·9· · your license up once you're licensed in

10· · New York?

11· · · · A. You must maintain an insurance,

12· · bond insurance.· You have to maintain

13· · that in good standing.· You also have

14· · to pay the renewal fees for the actual

15· · license itself every two years, for

16· · both states.

17· · · · Q. But you never have to sit for

18· · another exam?

19· · · · A. No.· Not unless your insurance,

20· · I mean, your license lapsed and you're

21· · required to take the exam again.

22· · Except for Jersey, you just have to go

23· · through the whole process over again.

24· · · · · · · MR. LoCOCO:· Let's go off

25· · · · the record.


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·1· · · · · · · · Raymond Rivera

·2· · · · · · · VIDEOGRAPHER:· We are off

·3· · · · the record.· The time is 11:08

·4· · · · a.m.

·5· · · · · · · (Discussion held off the

·6· · · · record.)

·7· · · · · · · VIDEOGRAPHER:· We are back

·8· · · · on the record, 11:08 a.m.

·9· · · · · · · MR. LoCOCO:· Mr. Rivera, I

10· · · · appreciate your time and your

11· · · · patience, those are all the

12· · · · questions that I have.· As I

13· · · · understand it, Mr. Bass doesn't

14· · · · have any questions.

15· · · · · · · VIDEOGRAPHER:· This will

16· · · · conclude the deposition of Corsi

17· · · · Investigations, LLC by Raymond

18· · · · Rivera and Raymond Rivera

19· · · · individually.

20· · · · · · · We are off the record at

21· · · · 11:09 a.m., February 23rd, 2022.

22· · · · · · · THE REPORTER:· Do you want a

23· · · · copy of the transcript?

24· · · · · · · MR. BASS:· As of now, no

25· · · · ma'am.


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·1· · · · · · · · Raymond Rivera

·2· · · · · · · MR. LoCOCO:· I need both the

·3· · · · transcript and the video.

·4· · · · · · · .

·5· · ·(Whereupon, at 11:10 a.m., the

·6· ·examination of this witness was concluded.)

·7

·8· · ·_____________________________

·9· · · · · RAYMOND RIVERA

10

11· ·Subscribed and sworn to before me

12· ·this _______ day of _________, 2022.

13

14· ·_______________________________

15· · · · · NOTARY PUBLIC

16

17

18

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·1

·2· · · · · · · C E R T I F I C A T E

·3· · · · · ·I, MICHELLE LEMBERGER, a shorthand

·4· · · reporter and Notary Public within and for

·5· · · the State of New York, do hereby certify:

·6· · · · · ·That the witness(es) whose testimony

·7· · · is hereinbefore set forth was duly sworn by

·8· · · me, and the foregoing transcript is a true

·9· · · record of the testimony given by such

10· · · witness(es).

11· · · · · ·I further certify that I am not

12· · · related to any of the parties to this

13· · · action by blood or marriage, and that I am

14· · · in no way interested in the outcome

15· · · of this matter.

16

17

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22

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24· · · · · · · · · · · ·MICHELLE LEMBERGER

25


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·1

·2· · · · · · · DEPOSITION ERRATA SHEET

·3· ·Case Caption:· Jones v. Raymond Corporation

·4

·5· · · · · DECLARATION UNDER PENALTY OF PERJURY

·6· · · · · ·I declare under penalty of perjury

·7· ·that I have read the entire transcript of my

·8· ·Deposition taken in the captioned matter or

·9· ·the same has been read to me, and the same is

10· ·true and accurate, save and except for changes

11· ·and/or corrections, if any, as indicated by me

12· ·on the DEPOSITION ERRATA SHEET hereof, with

13· ·the understanding that I offer these changes

14· ·as if still under oath.

15

16· · · · · ·_____________________________________

17· · · · · · · RAYMOND RIVERA

18

19· ·Subscribed and sworn to on the _____ day of

20· ·____________, 2022, before me,

21· ·___________________________________________

22· ·Notary Public,

23· ·in and for the State of ___________________

24

25


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·2· · · · · · · DEPOSITION ERRATA SHEET

·3· ·Page No. ____ Line No. ____ Change to: ____

·4· ·___________________________________________

·5· ·Reason for change: ________________________

·6· ·Page No. ____ Line No. ____ Change to: ____

·7· ·___________________________________________

·8· ·Reason for change: ________________________

·9· ·Page No. ____ Line No. ____ Change to: ____

10· ·___________________________________________

11· ·Reason for change: ________________________

12· ·Page No. ____ Line No. ____ Change to: ____

13· ·___________________________________________

14· ·Reason for change: ________________________

15· ·Page No. ____ Line No. ____ Change to: ____

16· ·___________________________________________

17· ·Reason for change: ________________________

18· ·Page No. ____ Line No. ____ Change to: ____

19· ·___________________________________________

20· ·Reason for change: ________________________

21· ·Page No. ____ Line No. ____ Change to: ____

22· ·___________________________________________

23· ·Reason for change: ________________________

24· ·SIGNATURE:____________________DATE:________

25· · · · · · · RAYMOND RIVERA


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